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                               UNITED STATES DISTRICT COURT
                             FOR THE MIDDLE DISTRICT OF FLORIDA
                                       OCALA DIVISION

 KRISTAL M. MIZE,

               Plaintiff,                                      CASE NO. 5:21-cv-00427

 v.                                                            JURY TRIAL DEMANDED

 TRUEACCORD CORP. and
 LVNV FUNDING, LLC,

               Defendants.
                                                        /


                                            COMPLAINT

           NOW comes KRISTAL M. MIZE (“Plaintiff”), by and through her undersigned attorney,

complaining as to the conduct of TRUEACCORD CORP. (“TrueAccord”) and LVNV FUNDING,

LLC (“LVNV”) (collectively “Defendants”) as follows:

                                       NATURE OF THE ACTION

      1.    Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices Act

(“FDCPA”), 15 U.S.C. § 1692 et seq. and the Florida Consumer Collection Practices Act

(“FCCPA”), Florida Statutes § 559.55 et seq., for Defendants’ unlawful conduct.

                                      JURISDICTION AND VENUE

      2.    This action arises under and is brought pursuant to the FDCPA and TCPA. Subject matter

jurisdiction is conferred upon this Court by 28 U.S.C. §§ 1331 and 1337, as the action arises under

the laws of the United States. Supplemental jurisdiction exists for the state law claim pursuant to

28 U.S.C. § 1367.




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      3.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391 as Defendants conduct business

in the Middle District of Florida and a substantial portion of the events or omissions giving rise to

the claims herein occurred in the Middle District of Florida.

                                                    PARTIES

      4.     Plaintiff is a consumer over 18 years of age residing in Sorrento, Florida, which lies

    within the Middle District of Florida.

      5.     TrueAccord is a third-party debt collector that claims to make “debt collection empathetic

and customer-focused.”1 TrueAccord is incorporated in the State of Delaware and is headquartered

at 303 Second Street, Suite 750, San Francisco, CA 94107. TrueAccord regularly collects debt

from consumers in the State of Florida.

      6. LVNV is a company that “purchases portfolios of . . . consumer debt owned by credit

grantors including banks and finance companies, and by other debt buyers.”2 LVNV is a limited

liability company organized under the laws of the State of Delaware with its principal place of

business located at 6801 South Cimarron Road, Suite 424-J, Las Vegas, Nevada. LVNV regularly

collects from consumers in the State of Florida.

      7.    Defendants acted through their agents, employees, officers, members, directors, heirs,

    successors, assigns, principals,         trustees, sureties, subrogees, third-party contractors,

    representatives and insurers at all times relevant to the instant action.

      8. Joinder of Plaintiffs’ claims against Defendants is proper under Fed. R. Civ. P. 20(a)(1)

and Fed. R. Civ. P. 20(a)(2) as the claims arise out of the same transaction, occurrence, or series

of transactions or occurrences and common questions of law or fact will arise.




1
    https://www.trueaccord.com/about-us/mission-and-values
2
    http://www.lvnvfunding.com/

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                            FACTS SUPPORTING CAUSES OF ACTION

   9.   The instant action arises out of Defendants’ attempts to collect on a consumer obligation

(“subject debt”) that Plaintiff allegedly owes.

   10. Upon information and belief, the subject debt arose from Plaintiff’s purported default on

a consumer account originally owed to Credit One Bank in the amount of $599.74.

   11. Upon information and belief, after Plaintiff’s purported default, the subject debt was

purchased by LVNV and turned over to TrueAccord for collection purposes.

   12. During 2021 TrueAccord has emailed and sent text messages to Plaintiff’s cellular phone

(561) XXX-1750.

   13. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in -1750. Plaintiff is and always has been financially

responsible for the cellular phone and its services.

   14. Plaintiff demanded that TrueAccord cease calling her.

   15. On or about April 7, 2021, Plaintiff called TrueAccord after viewing the subject debt on

her credit report.

   16. During this call Plaintiff also advised TrueAccord that she disputed the subject debt.

   17. Plaintiff also provided TrueAccord with her mailing address during this call.

   18. On or about April 13, 2021, TrueAccord sent a dunning text message to Plaintiff from the

number (866) 611-2731.

   19. The text message requested Plaintiff to click on a link to go to her account.

   20. Plaintiff clicked on the link only to find out that it led to an account purportedly owed by

a different individual, “Deborah L.”, in an amount of $869.06.

   21. The “Deborah L.” account had as its creditor LVNV.



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   22. Plaintiff did not and does not know any “Deborah L.” or recognize the account and its

amount.

   23. Further, on or about April 29, 2021, TrueAccord again sent a text message to Plaintiff to

collect.

   24. Frustrated and concerned over Defendant’s conduct, Plaintiff spoke with her attorney

regarding her rights, resulting in exhausting time and resources.

   25. Plaintiff has been unfairly and unnecessarily harassed by Defendants’ actions.

   26. Plaintiff has suffered concrete harm as a result of Defendants’ actions, including but not

limited to, invasion of privacy, aggravation accompanying collection calls and texts, aggravation

resulting from being contacted for stranger’s debt, diminished usability of her own cellular phone,

and diminished space for data storage on her cellular phone.


             COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

   27. Plaintiff repeats and realleges paragraphs 1 through 26 as though full set forth herein.

   28. Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3) of the FDCPA as she was

allegedly obligated to pay the subject debt.

   29. Defendants are “debt collector[s]” as defined by §1692a(6) of the FDCPA, because they

regularly use the mail and/or the telephone to collect, or attempt to collect, delinquent consumer

accounts.

   30. Defendants either identify themselves as debt collectors and engage in the business of

collecting or attempting to collect, directly or indirectly, defaulted debts owed or due or asserted

to be owed or due to others or are alternatively a business where the principal purpose is the

collection of debts. 15 U.S.C. §1692a(6).




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   31. The subject debt is a “debt” as defined by FDCPA § 1692a(5) as it arises out of a

transaction due or asserted to be owed or due to another for personal, family, or household

purposes.

   32. TrueAccord attempted to collect from Plaintiff on LVNV’s behalf and at its direction.

   33. Hence, LVNV is TrueAccord’s principal and is liable for TrueAccord’s actions as it

exercises control over the latter’s conduct. See Clark v. Capital Credit & Collection Servs., Inc.,

460 F.3d 1162, 1173 (9th Cir. 2006) (“[T]o be liable for the actions of another, the principal must

exercise control over the conduct or activities of the agent.”).

       a. Violations of FDCPA § 1692c(a)(1) and § 1692d

   34. The FDCPA prohibits a debt collector from contacting the consumer at unusual time or

place or a time or place known or should be known to be inconvenient to the consumer. §

1692c(a)(1).

   35. The FDCPA, pursuant to 15 U.S.C. § 1692d, prohibits a debt collector from engaging “in

any conduct the natural consequence of which is to harass, oppress, or abuse any person in

connection with the collection of a debt.”

   36. Defendants violated § 1692c(a)(1) and § 1692d when it sent unwanted text messages to

Plaintiff while knowing that Plaintiff did not consent to these text messages. This repeated

behavior of texting Plaintiff in connection with debt collection without Plaintiff’s consent was

harassing and abusive. Defendants willfully ignored Plaintiff’s demand by texting her with the

intent to harass and annoy her.

   37. Defendants were notified by Plaintiff that its phone contacts were not welcomed. As such,

Defendants knew that their conduct was inconvenient and harassing to Plaintiff.




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   38. Even more egregiously, Defendants sent Plaintiff a text message labeled for “Deborah L.”

which contained a link to a debt file that did not belong to Plaintiff. Such behavior of disclosing

debt information to irrelevant third parties worked to worry and further harass Plaintiff in that it

implied to her that her debt file could similarly be disclosed to strangers.

           b. Violations of FDCPA § 1692e

   39. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any

false, deceptive, or misleading representation or means in connection with the collection of any

debt.”

   40. In addition, this section enumerates specific violations, such as:

                “The use of any false representation or deceptive means to collect
                or attempt to collect any debt or to obtain information concerning a
                consumer.” 15 U.S.C. §1692e(10).

   41. Defendants violated §1692e and e(10) when they used deceptive means to collect and/or

attempt to collect the subject debt. In spite of the fact that Plaintiff demanded that Defendants stop

contacting her, they continued to contact Plaintiff via texts in a deceptive attempt to force her to

pick up contact with itself and ultimately make a payment. Through its conduct, Defendants

misleadingly represented to Plaintiff that it had the legal ability to contact Plaintiff when it in fact

did not.

   42. Defendants also violated the above subsections through sending stranger’s debt file to

Plaintiff in a deceptive attempt to confuse her and harass her into making contact.


         c. Violations of FDCPA § 1692f

   43. The FDCPA, pursuant to 15 U.S.C. § 1692f, prohibits a debt collector from using “unfair

or unconscionable means to collect or attempt to collect any debt.”

   44. More specifically, § 1692f(1) prohibits


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               The collection of any amount (including any interest, fee, charge, or
               expense incidental to the principal obligation) unless such amount
               is expressly authorized by the agreement creating the debt or
               permitted                          by                           law.


   45. Defendants violated § 1692f and § 1692f(1) when it unfairly and unconscionably

contacted Plaintiff on a purported debt owed by someone else who had no connection with Plaintiff

in any respect. Such means employed by Defendants only served to worry and confuse Plaintiff.

   46. Further, Defendants violated § 1692f when they sent unwanted texts to Plaintiff while

knowing Plaintiff demanded no contact through cellular phone be made.

   47. As pled in paragraphs 24 through 26, Plaintiff has been harmed and suffered damages as

a result of Defendants’ illegal actions.


   WHEREFORE, Plaintiff, KRISTAL M. MIZE, respectfully requests that this Honorable Court

enter judgment in her favor as follows:

           a. Declaring that the practices complained of herein are unlawful and violate the
              aforementioned bodies of law;

           b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C. §
              1692k(a)(2)(A);

           c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as
              provided under 15 U.S.C. § 1692k(a)(1);

           d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
              § 1692k(a)(3);

           e. Enjoining Defendant from further contacting Plaintiff seeking payment of the
              subject debt; and

           f. Awarding any other relief as this Honorable Court deems just and appropriate.


       COUNT II – VIOLATIONS OF THE FLORIDA CONSUMER COLLECTION PRACTICES ACT
   48. Plaintiff restates and realleges paragraphs 1 through 26 as though fully set forth herein.



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   49. Plaintiff is a “consumer” as defined by Florida Statutes § 559.55(8).

   50. Defendants are “debt collectors” as defined by Florida Statutes § 559.55(7).

   51. The subject debt is a “consumer debt” as defined under Florida Statute § 559.55(6).

       a. Violations of FCCPA § 559.72(7)

   52. A person violates § 559.72(7) of the FCCPA when it “willfully communicate with the

debtor . . . with such frequency as can reasonably be expected to harass the debtor . . . , or willfully

engage in other conduct which can reasonably be expected to abuse or harass the debtor . . . .”

   53. Defendants violated the above subsection by willfully sending unwanted text messages to

Plaintiff in attempts to collect debts. Defendants were aware that Plaintiff demanded cease

communication through cellular phone. They knew and should have known that any further

contact to her cellular phone was harassing to Plaintiff.

   54. Further, as outlined above, Defendants violated this subsection when they disclosed

stranger’s debt information to Plaintiff in a tactic to worry and confuse Plaintiff, which was

naturally harassing to her.

       b. Violations of FCCPA § 559.72(9)

   55. A person violates § 559.72(9) of the FCCPA when it claims or attempts to enforce a debt

when such person knows that the debt is not legitimate.

   56. Defendant violated § 559.72(9) of the FCCPA when it knowingly sent a stranger’s debt

file to Plaintiff in a masqueraded attempt to make her pay for debts she did not owe.

   WHEREFORE, Plaintiff, KRISTAL M. MIZE, respectfully requests that this Honorable Court

enter judgment in her favor as follows:

           a. Enter judgment in Plaintiff’s favor and against Defendant;

           b. Award Plaintiff her actual damages in an amount to be determined at trial
              pursuant to the Florida Consumer Collection Practices Act, Fla. Stat. § 559.77;


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          c. Award Plaintiff statutory damages of $1,000.00 pursuant to the Florida Consumer
             Collection Practices Act, Fla. Stat. § 559.77;

          d. Award Plaintiff and equitable relief, including enjoining Defendant from further
             violations, pursuant to Florida Consumer Collection Practices Act, Fla. Stat. §
             559.77(2);

          e. Award Plaintiff costs and reasonable attorneys’ fees pursuant to the Florida
             Consumer Collection Practices Act, Fla. Stat. § 559.77;

          f. Enjoining Defendant from further contacting Plaintiff seeking payment of the
             subject debt; and

          g. Award any other relief this Honorable Court deems equitable and just.


Dated: August 24, 2021                                     Respectfully submitted,

                                                          /s/Alejandro E. Figueroa
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